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                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.

                        Plaintiff,

                v.                    Civil Action No. 1:17-cv-11008-MLW

CELLTRION HEALTHCARE CO., LTD.,       PUBLIC -
CELLTRION, INC., and                  REDACTED VERSION
HOSPIRA, INC.

                        Defendants.



                    DEFENDANTS’ MEMORANDUM
        IN OPPOSITION TO PLAINTIFF’S MOTIONS IN LIMINE NO. 5
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I.     INTRODUCTION

       Janssen motion in limine no. 5 is the second of three motions in limine Janssen filed to keep

the jury from hearing valid criticism of its experts’ shaky liability testimony. Specifically, Janssen

seeks to exclude everything in paragraphs 69–81 of Defendants’ liability expert’s, Dr. Michael

Glacken’s, rebuttal report. Janssen couches its request as seeking to “bar[ Defendants] from

making any argument or procuring any testimony regarding vitiation.” Dkt. 266 (Br.) at 9. The

Court should deny MIL 5.

       As Defendants have explained, Janssen’s infringement arguments are unprecedented,

alleging a twelve-way (or more) doctrine of equivalents theory against the accused GE HyClone

cell culture media. The crux of Janssen’s infringement case is expert testimony from Dr. Michael

Butler and testing conducted by Dr. Florian Wurm. Janssen, Dr. Butler, and Dr. Wurm treat the

limitations in the ’083 patent as “guidelines for estimation,” Ex. 1 (1/30/18 Hr’g Tr.) at 82:20–

83:3, and their infringement analysis improperly dismisses differences between the accused GE

HyClone media and the ’083 patent.

       Dr. Glacken’s rebuttal report shows that Janssen and its experts failed to carry the burden

of proof for infringement under the doctrine of equivalents. The paragraphs Janssen wants

excluded criticize Dr. Butler’s approach to interpreting the claimed concentration limitations and

methodology for assessing the substantiality of differences, which goes directly to Janssen’s failure

to prove its case under the doctrine of equivalents. And Janssen admits that Dr. Glacken has a

“right to present [] at trial” his “criticisms” of Drs. Butler and Wurm. No. 15-cv-10698 Dkt. 343

at 5. Thus, for example, when Dr. Butler argues the claim’s concentration ranges

Dr. Glacken must be allowed to explain that Dr. Butler is wrong.

       Moreover, there is no basis to “bar” evidence of vitiation. Vitiation remains a live issue in

this case. If necessary, the Court will decide vitiation after trial based on the evidence presented.


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In addition to rebutting and criticizing Drs. Butler and Wurm, paragraphs 69–81 of Dr. Glacken’s

report also contain opinions relevant to vitiation, and thus should be allowed so they can be

considered in the Court’s decision. And Janssen cannot reasonably claim prejudice because Dr.

Glacken will not use the term “vitiation” unless the Court asks the jury for an advisory verdict.

II.     ARGUMENT

        The Court should deny Janssen’s “vitiation” motion for two reasons. First, Dr. Glacken’s

discussions and observations in these thirteen paragraphs are relevant to his conclusion that

Janssen failed to carry its burden of proof on infringement under the doctrine of equivalents. It is

beyond dispute that attacking the data, methods, and analysis on which Dr. Butler relies are proper

subjects for Dr. Glacken’s testimony. United States v. Mooney, 315 F.3d 54, 63 (1st Cir. 2002)

(“any flaws in [an expert’s] opinion may be exposed through . . . competing expert testimony.”);

Aviva Sports v. Fingerhut Direct Mktg., Inc., 829 F. Supp. 2d 802, 834–35 (D. Minn. 2011) (“[i]t

is the proper role of rebuttal experts to critique plaintiff[’s] experts’ methodologies and point out

potential flaws in the plaintiff’s experts’ reports.”).

        Dr. Glacken’s specific criticisms plainly are relevant. For example, he disputes Dr. Butler’s

approach to “interpret[ing] [] the concentration limitations.” Ex. 2 (Glacken Reb. Rpt.) ¶ 73. Dr.

Glacken also rebuts Dr. Butler’s assertion that

                                                                   Id. at ¶ 72, 74. And Dr. Glacken

explains that Dr. Butler’s opinions are inconsistent with how a person of ordinary skill in the art

(“POSA”) would interpret the claims. Id. at ¶ 74. Dr. Butler’s erroneous interpretation of these

patents and approach to equivalence show he performed the wrong analysis and failed to show

equivalence, and Dr. Glacken should be allowed to explain that to the jury. Aviva, 829 F. Supp. 2d

at 834–35.




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       Dr. Glacken also levels criticisms at Dr. Butler’s purported methodology for assessing

substantiality of differences, including Dr. Butler’s failure to: “provide any standard for how he

evaluates an ‘insubstantial’ or ‘close’ difference,” provide “testing to support his characterizations

of ‘insubstantial’ or ‘close’ difference with respect to an ingredient’s function or concentration,”,

and “articulate any scientific basis for evaluating whether the differences in the amounts of the

ingredients are actually ‘insubstantial.’” See, e.g., Ex. 2 (Glacken Reb. Rpt.) ¶¶ 76, 78, 80–81.

These paragraphs criticize Dr. Butler’s “broad functional test,” which ignores differences “so long

as the cells grown in the cell culture media perform similarly,” and “ignor[es] the specific

contribution of each of the concentration ranges.” Id. ¶¶ 80–81.

       Dr. Glacken’s report rebuts Dr. Butler’s opinion that the differences between the accused

GE HyClone media and the claimed elements of the ’083 patent are insubstantial, including

“disagree[ing]” with Dr. Butler’s conclusion about the substantiality of “the differences in the

concentration” for trace element-containing ingredients and other missing claim limitations. Id. ¶¶

75, 78. Dr. Glacken’s report also discusses the large differences between the accused media’s

concentrations and the ranges claimed in the ’083 patent. Id., Tabs. 3–6.




       Moreover, Dr. Glacken should be permitted to offer opinions which draw logically on these

criticisms—e.g., that Dr. Butler’s interpretation of the claims and approach to evaluating whether




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differences are substantial cannot be correct because “[a]pplying the doctrine of equivalents to

differences of this magnitude would essentially eliminate the claim limitations that require

particular ingredients within specified concentration ranges.” Id. ¶ 71. This directly addresses

whether Dr. Butler and Dr. Wurm are doing a proper scientific analysis to show equivalence, and

its rebuttal to their testimony unquestionably is proper.

       Second, Dr. Glacken’s opinions are relevant to vitiation. The merits of Defendants’

vitiation defense are still pending, as is the Court’s decision on whether to ask for an advisory

verdict. Claim vitiation is assessed “based on the evidence presented and the theory of equivalence

asserted” at trial. Cadence Pharms. Inc. v. Exela PharmSci Inc., 780 F.3d 1364, 1371 (Fed. Cir.

2015); see also Ex. 3 (1/31/18 Hr’g Tr.) at 110:4–13. To fairly litigate this issue, Defendants must

be allowed to present their evidence at trial, including Dr. Glacken’s opinions (if necessary,

without using the term “vitiation”).

       The Court should reject Janssen’s arguments for exclusion. First, Janssen argues Dr.

Glacken’s testimony is not relevant. For example, Janssen argues that Dr. Glacken’s opinions

should be excluded because it does not have a “‘philosophy of doctrine of equivalents

infringement.’” Dkt. 266 (Br.) at 10. This is plainly false. Janssen and Dr. Butler make numerous

scientific and interpretive claims to support their doctrine of equivalents analysis, including




                                                                                     . See, e.g., Ex. 4

(Butler Op. Rpt.) ¶¶ 42, 46, 47. Dr. Glacken responds to and rebuts those premises and claims;

rebutting Janssen’s theories and evidence are entirely appropriate and relevant subjects for Dr.

Glacken’s opinions. Mooney, 315 F.3d at 63.




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        Second, Janssen argues that “the Court [has already] held that the analysis of Dr. Butler

does not vitiate any claim limitations.” Dkt. 266 (Br.) at 9. Janssen is wrong; this Court has not

ruled on the merits of Defendants’ vitiation defense. Janssen’s motion cites statements the Court

made in its ruling on the admissibility of Dr. Butler’s testimony, not the merits of vitiation. Dkt.

266 (Br.) at 9. And Court also noted that Janssen was not required to prove at that time “that the

expert’s assessment of the situation is correct.” Ex. 3 (1/31/18 Hr’g Tr.) at 76:19–21, 77:20–25.

Consequently, the merits of the vitiation defense remain pending.

        Third, Janssen claims Defendants “conceded at oral argument that vitiation is not a

question that should be presented to the jury unless the Court asks the jury for an advisory opinion.”

Dkt. 266 (Br.) at 9–10. Defendants did not concede that vitiation-related evidence should not be

presented at trial. See Cadence Pharms., 780 F.3d at 1371. And, regardless, Dr. Glacken’s opinions

are relevant to issues other than vitiation.

III.    CONCLUSION

        The Court should deny Janssen MIL 5. Dr. Glacken should be permitted to testify

regarding the opinions contained in paragraphs 69–81 of his report. His testimony goes to the

heart of Janssen’s and Dr. Butler’s opinions on infringement under the doctrine of equivalents

and also will be relevant to the Court’s decision on vitiation.




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Dated: June 4, 2018                 Respectfully submitted,

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                                    and Hospira, Inc.

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                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on June 4,

2018.

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